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                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


    In re                                                    Bankruptcy
                                                             Case No. 22-33553 (CML)
    Alexander E. Jones
                                                             Chapter 11
                    Debtor,
                                                             Bankruptcy
    In re                                                    Case No. 22-60043 (CML)
    Free Speech Systems LLC
                                                             Chapter 11
                    Debtor,



                JOINT NOTICE REGARDING AGREED ORDER ON
            DEBTORS’ MOTION FOR APPROVAL OF COMPROMISE AND
      SETTLEMENT UNDER FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019

            PLEASE TAKE NOTICE that Alexander E. Jones (“Jones”), Free Speech Systems, LLC

(“FSS,” and together with Jones, the “Debtors”), and the Texas Plaintiffs 1 (collectively, the

“Parties”) have reached a consensual agreement to extend the deadline to lift the automatic stay

set forth in the Agreed Order on Debtors’ Motion for Approval of Compromise and Settlement

Under Federal Rule of Bankruptcy Procedure 9019 (the “Agreed Order”) [Dkt. Nos. 374 and 673].

The Parties have agreed that the deadline set for August 31, 2023 at 12:01 a.m. (CST) in the Agreed

Order will be moved to September 14, 2023 at 12:01 a.m. (CST) at which time the automatic stay

shall lift, unless otherwise extended pursuant to the terms of the Agreed Order, solely to allow pre-

trial proceedings and discovery to move forward in the Pozner/De La Rosa Action with no further

action required by this Court or the Texas Plaintiffs. All other deadlines established in the Agreed

Order shall remain in effect unless otherwise agreed by the Parties.




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    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Agreed Order.
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 Dated: August 30, 2023

/s/ Jennifer J. Hardy
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                                   CERTIFICATE OF SERVICE

        I certify that on August 30, 2023, a true and correct copy of the foregoing was served on all
parties registered to receive electronic notice of filings in this case via this Court’s ECF notification
system.

                                                    /s/ Jennifer J. Hardy
                                                    Jennifer J. Hardy




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